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11
12                         UNITED STATES DISTRICT COURT
13                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
14    UNITED STATES OF AMERICA,       )    CR No. 07-689-GW
15                                    )
                         Plaintiff,   )    GOVERNMENT'S PROPOSED
16                                    )    CHANGES TO JURY INSTRUCTIONS
                    v.                )    CIRCULATED BY COURT ON AUGUST 1,
17                                    )    2008
      CHARLES C. LYNCH                )
18                                    )
                         Defendant.   )
19                                    )
                                      )
20                                    )
                                      )
21
22         On August 1, 2008, the Court circulated a revised series of

23   proposed jury instructions to the parties.         A copy of these

24   instructions (the "jury instructions") is attached hereto and

25   filed concurrently herewith.         The government hereby provides its

26   //

27   //

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 1   proposed changes to these jury instruction organized by jury
 2   instruction number.
 3
 4   Dated: August 2, 2008              Respectfully submitted,
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 6
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 1           GOVERNMENT'S PROPOSED REVISIONS TO JURY INSTRUCTIONS
 2                        JURY INSTRUCTION NO.2 (Page 1)
 3   First paragraph, 3d sentence:
 4         DELETE: "Any state law they"
 5         INSERT: "Any state laws that"
 6
 7   Second paragraph:
 8         DELETE: Entire paragraph
 9         INSERT: "You have heard references in this case to the
10   Tenth Amendment to the United States Constitution.           The Tenth
11   Amendment does not prevent federal law from criminalizing the
12   manufacture, distribution, or possession of marijuana even in
13   states such as California which have legalized marijuana for
14   certain purposes under state law.        Nor does the Tenth Amendment
15   allow any California state law to override or change federal law
16   in anyway."
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 1                      JURY INSTRUCTION NO.18 (Page 4-5)
 2   Will indictment go to the jury:
 3   GOVERNMENT'S RESPONSE:
 4         The Court has complete discretion as to whether to send a
 5   copy of the indictment to the jury.        United States v. Utz, 886
 6   F.2d 1148, 1152 (9th Cir. 1989); Shane v. United States, 255 F.2d
 7   739, 743 (9th Cir. 1958).
 8         The government lodged a redacted indictment on July 20,
 9   2008, which was agreed to by all parties.         That indictment was
10   read to the jury.     Recently, the government submitted to the
11   Court (on compact disc) and to the defense a revised indictment
12   identical to the July 20, 2008 indictment, but with two
13   references to the sales of marijuana for profit removed.            (See
14   July 20, 2008 indictment at 2, Means Section: "1. LYNCH . . .
15   owned an operated for profit a marijuana store..." and "2.            LYNCH
16   supplied marijuana to be sold for a profit at the marijuana
17   store.") (emphasis added)).       A copy of this indictment will be
18   lodged concurrently herewith.       As the government has not sought
19   to offer evidence of sales for profit, and as the profit
20   allegations are not essential to the charges in the indictment,
21   the Court may remove and submit to the jury the government's new
22   redacted indictment to the jury, should it choose to send a copy
23   of the indictment to the jury at all.         United States v.
24   Hutchinson, 22 F.3d 846, 850 (9th Cir. 1993) (discussing United
25   States v. Miller, 471 U.S. 130 (1985) and United States v.
26   Barany, 884 F.2d 1255, 1258 (9th Cir. 1989)), overruled on other
27   grounds as recognized in United States v. Nash, 115 F.3d 1431,
28   1435 (9th Cir. 1997)); United States v. Forzese, 756 F.2d 217,


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 1   221-22 (1st Cir. 1985) (better practice to omit overt act in
 2   conspiracy as to which there was no evidence).
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 1                       JURY INSTRUCTION NO.19 (Page 5)
 2   First paragraph, lasts sentence:
 3         DELETE: "trump federal law . . . "
 4         INSERT: "override or change federal law. . ."
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 1                        JURY INSTRUCTION NO.23 (Page 6)
 2   First paragraph, 2d sentence:
 3         DELETE:   "The crimes listed in Count One as being a subject
 4   . . . "
 5         INSERT:   "The crimes listed in Count One as being an object
 6   . . . "
 7
 8   First paragraph, listed item "1)"
 9         DELETE:     ". . . and the distribution of marijuana,"
10         INSERT:     ". . . or the distribution of marijuana,"
11
12   First paragraph, listed item "3)"
13         DELETE:     ". . . and the distribution of a mixture or
14   substance containing THC,"
15         INSERT:     ". . . or the distribution of a mixture or
16   substance containing THC,"
17   First paragraph, listed items "4)" and "5)"
18         REVERSE ORDER OF CRIMES LISTED AS "4)" and "5)" TO CONFORM
19         WITH ORDER IN INDICTMENT
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 1                       JURY INSTRUCTION NO. 26 (Page 7)
 2   First Paragraph
 3         DELETE:     ". . . possession with intent distribution THC . .
 4   . "
 5         INSERT:     ". . . possession with intent to distribute THC. .
 6   . "
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 1                            JURY INSTRUCTION NO. 30
 2                  (First unnumbered instruction on Page 9)
 3   Last paragraph regarding government's lack of need to prove
 4   knowledge of the age of the person receiving the marijuana:
 5         GOVERNMENT'S RESPONSE:      As set forth in the government's
 6   annotated jury instruction filed on or about July 17, 2008, this
 7   instruction is based on United States v. Valencia-Roldan, 893
 8   F.2d 1080, 1083 (9th Cir. 1990) and Ninth Circuit Model Jury
 9   Instruction No. 9.17 (2003) [Controlled Substance – Distribution
10   to Person Under 21 Years (21 U.S.C. §§ 841(a)(1) and 859),
11   Comment ("Knowledge by the defendant that the person to whom the
12   controlled substance is distributed is under twenty-one years of
13   age is not an essential element")].
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 1                            JURY INSTRUCTION NO. 34
 2     (First unnumbered instruction, "Quantity of Drug", on p. 10-11)
 3    Question as to whether quantity is an issue as to Counts 2 and 3
 4         GOVERNMENT'S RESPONSE:
 5         Quantity is an issue as to Counts 2 and 3, specifically
 6    whether the counts involve greater than 5 grams of marijuana.
 7    See 21 U.S.C. § 859(a), last sentence.
 8
 9    Eight Paragraph (bottom of page 10), first sentence:
10         DELETE:    Entire Sentence: "If you find Defendant guilty as
11    to either Count One. . . (or conspired to possess)."
12         BASIS:    This sentence is unnecessarily duplicative of the
13    second paragraph of this instruction.        At most, INSERT into the
14    second paragraph after "answer an additional question" the words
15    "in the verdict form."
16
17    Eight Paragraph (bottom of page 10), second sentence:
18         DELETE:     Entire sentence.
19         INSERT:     "You heard that suspected marijuana plants taken
20    by the government from the defendant's business on March 29, 2007
21    were destroyed or deteriorated before the defendant or his
22    counsel was able to inspect or count the plants.          From this fact,
23    you may, but are not required to, draw the adverse inference that
24    the number of plants taken from the store was less than the
25    government claims it to be or to conclude that the destruction or
26    deterioration makes one unable to determine with sufficient
27    certainty the number of plants taken from the store on March 29,
28    2007."


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 1         INSERT ALSO:      "You heard also that other bulk quantities of
 2    suspected marijuana taken from defendant's store was destroyed
 3    prior to trial.     While it is for you to determine the nature and
 4    quantity of this suspected marijuana, this bulk quantity of
 5    marijuana was destroyed according to proper procedures after
 6    defendant and his counsel were given adequate opportunity to
 7    inspect it."
 8         BASIS:       As the Court has noted to counsel during trial,
 9    given defendant's attempt to raise the false impression that this
10    bulk marijuana was improperly destroyed, an instruction on this
11    issue is necessary.
12
13    Ninth Paragraph (top of page 11):
14         DELETE:      Second sentence, regarding "cuttings."
15         REASON:      The government assumes that this instruction is
16    taken from United States v. Robinson, 35 F.3d 442, 446 (9th Cir.
17    1994).   However, there has been no evidence in this case that
18    defendant had mere cuttings that did not develop roots, so the
19    second sentence is unnecessary.
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 1                            JURY INSTRUCTION NO. 35
 2    (First full unnumbered instruction, "Location/Venue", on pages
 3    10-11)
 4    Reason for instruction:
 5         The venue requirement is set forth in United States v.
 6    Casch, 448 F.3d 1115, 1117-18 (9th Cir. 2006).          Should defendant
 7    agree to waive venue on the record this instruction would not be
 8    necessary.
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 1                            JURY INSTRUCTION NO. 36
 2    (Second unnumbered instruction, "Defense-Entrapment by Estoppel",
 3    on pages 11-12)
 4
 5    First Paragraph, Third sentence:
 6         DELETE:      "This defense is available only for Counts Four
 7    and Five."
 8         INSERT:      "This defense is available only for Counts Four
 9    and Five, and for the first, second, third, and fifth crimes
10    charged as objects of the conspiracy in Count One."
11    First Paragraph, Fourth sentence:
12         DELETE:      ". . . to Counts Two or Three which involve
13    distribution of marijuana to persons under the age of 21 years."
14         INSERT:      ". . . to Counts Two or Three, or the fourth crime
15    charged as an object of the conspiracy in Count One, all of which
16    involve distribution of marijuana to persons under the age of 21
17    years."
18    Third Paragraph, First Sentence:
19         DELETE:      Entire sentence.
20         INSERT:      "In order to find the defendant “not guilty” of a
21    count of an indictment or to find him not responsible of a crime
22    charged as an object of the conspiracy in Count One based on the
23    defense of entrapment by estoppel, you must find that as to the
24    particular crime at issue, that the defendant has proved by a
25    preponderance of the evidence each of the following five
26    elements:...”
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 1    Fourth Paragraph, last sentence (bottom of p.11)
 2         DELETE:     ". . . obeying the law. . . "
 3         INSERT:     ". . . obeying federal law. . . "
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 1                            JURY INSTRUCTION NO. 37
 2    (First unnumbered concluding instruction on page 12)
 3         DELETE:     Entire instruction as duplicative of Instruction
 4    No. 1 (unless during the remainder of trial or closing argument,
 5    counsel make jury nullification or other arguments contrary to
 6    law).
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 1                            JURY INSTRUCTION NO. 38
 2    (Second unnumbered concluding instruction on page 12)
 3         DELETE:     Entire instruction.
 4         BASIS:    Duplicative of Instruction Nos. 2 & 9
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 9                                    CONCLUSION
10         The government respectfully requests the above changes be
11    made to the jury instruction.
12    Dated: August 2, 2008              Respectfully submitted,
13                                       THOMAS P. O’BRIEN
                                         United States Attorney
14
                                         CHRISTINE C. EWELL
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17                                               /s/
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                                               Attorneys for Plaintiff
20                                             United States of America
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